     Case 4:05-cr-50063-SFC-WC ECF No. 17, PageID.97 Filed 10/14/05 Page 1 of 2
O AO 472 (Rev. 12/03) Order of Detention Pending Trial


                                      UNITED STATES DISTRICT COURT
                       EASTERN                                    District of                                MICHIGAN
        UNITED STATES OF AMERICA
                   V.                                                         ORDER OF DETENTION PENDING TRIAL
    LOREDANA DELORES FACEA,                                                 Case      05-CR-50063-2-FL
                         Defendant
     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require
the detention of the defendant pending trial in this case.
                                                            Part I—Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G stat
        or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
        G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
        G an offense for which the maximum sentence is life imprisonment or death.
        G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                      .
        G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
            § 3142(f)(1)(A)-©, or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
        for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
      safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                               Alternative Findings (A)
G (1) There  is probable  cause  to believe that the defendant  has committed an offense
      G    for which  a maximum     term of imprisonment    of ten years or more is prescribed in                                                 .
      G under 18 U.S.C. § 924©.
  (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
      the appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings (B)
X (1) There  is a serious risk that the defendant  will not appear.
G (2) There is a serious risk that the defendant will endanger the safety of another person or the community.




                                           Part II—Written Statement of Reasons for Detention
     I find that the credible testimony and information submitted at the hearing establishes by X clear and convincing evidence               a prepon-
derance of the evidence that
detention is appropriate in this matter. The information presented at the hearing reveals that the defendant has a criminal history dating back
to 1995. The record indicates that she has a 1999 federal court conviction for the offense of bank fraud. She also has state court convictions for
fraud. Further information provided by the Pretrial Officer reveals that the defendant has used a number of aliases, different dates of birth, and
different Social Security numbers. It further appears that the defendant has lived a transient lifestyle, and that she is unemployed at this time.
Her parents and sister reside in the State of Florida, and her only family ties to this area are her three children which are currently in the custody
of the State of Michigan. I therefore find that based upon the information the defendant poses a serious risk of flight should she be released
on bond in this matter. Accordingly, the defendant shall be detained without bond pending trial. IT IS SO ORDERED.

                                                    Part III—Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility
separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be
afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney
for the Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an
appearance in connection with a court proceeding.


 Date: October 14, 2005
                                                                               s/ Wallace Capel, Jr.


                                                                           WALLACE CAPEL, JR. U.S. MAGISTRATE JUDGE
                                                                                     Name and Title of Judge
                  Case 4:05-cr-50063-SFC-WC ECF No. 17, PageID.98 Filed 10/14/05 Page 2 of 2
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            *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or ©
            Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).



                                                                        CERTIFICATE OF SERVICE

I hereby certify that on October 14, 2005 , I electronically filed the foregoing paper with the Clerk of the Court using the ECF system which will send such notification of such
filing to the following: Mark C. Jones, , Assistant U.S. Attorney, , and I hereby certify that I have mailed by United States Postal Service/hand delivered the paper to the
following non-ECF participants: Sheldon Halpern, 916 S. Main St., Royal Oak, MI 48067, United States Marshal Service, 600 Church St., Flint, MI, 48502, Pretrial Services
Officer, 600 Church St., Flint, MI 48502.

                                                                                 s/James P. Peltier
                                                                                 James P. Peltier
                                                                                 Courtroom Deputy Clerk
                                                                                 U.S.District Court
                                                                                 600 Church St.
                                                                                 Flint, MI 48502
                                                                                  810-341-7850
